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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re                                                     )     Chapter 11
                                                              )
    TOUGH MUDDER INC., et al., 1                              )     Case No. 20-10036 (CSS)
                                                              )
                            Debtors.                          )     Joint Administration Requested
                                                              )
                                                              )     RE: D.I. 39
                                                              )

   CERTIFICATE OF NO OBJECTION REGARDING CHAPTER 11 TRUSTEE’S
MOTION FOR ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE 1007(c)
EXTENDING THE TIME TO FILE SCHEDULES OF ASSETS AND LIABILITIES AND
                STATEMENTS OF FINANCIAL AFFAIRS

                    The undersigned hereby certifies that, as of the date hereof, Morris, Nichols,

Arsht & Tunnell LLP (“Morris Nichols”) has received no answer, objection, or other responsive

pleading to the Chapter 11 Trustee’s Motion for Entry of an Order Pursuant to Bankruptcy Rule

1007(c) Extending the Time to File Schedules of Assets and Liabilities and Statements of

Financial Affairs [D.I. 39] (the “Motion”), filed on February 11, 2020.

                    The undersigned further certifies that Morris Nichols has caused the review of the

Court’s docket in these cases and that no answer, objection, or other responsive pleading to the

Motion appears thereon. Pursuant to the notice of hearing on the Motion, the deadline to file and

serve objections or responses to the Motion was February 18, 2020, at 4:00 p.m. (EST).




1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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               WHEREFORE, the Trustee respectfully requests that the order attached to the

Motion be entered at the earliest convenience of the Court.

Dated: February 19, 2020               MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                        /s/ Brett S. Turlington
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                                       Matthew B. Harvey (No. 5186)
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                                       Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                                       11 Trustee to Tough Mudder Inc. and Tough Mudder
                                       Event Production Inc.
